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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

         Defendants.
   ______________________________________/

                     ORDER DENYING J. BRIAN FERGUSON’S
           MOTION TO INTERVENE AND LIFT THE LITIGATION INJUNCTION

          THIS CAUSE comes before the Court upon Movant J. Brian Ferguson’s Motion to

   Intervene and Lift the Litigation Injunction (“Motion”), [ECF No. 1687], filed on August 30, 2023.

   The Court has reviewed the Motion and the Receiver’s Response, [ECF No. 1696], which

   acknowledges that the parties have agreed to the relief provided for in this Order. Accordingly, it

   is hereby

          ORDERED AND ADJUDGED that the Motion is DENIED WITHOUT PREJUDICE.

          DONE AND ORDERED in Miami, Florida this 11th day of September, 2023.




                                                        ________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
